                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF WISCONSIN
                                MILWAUKEE DIVISION

WISCONSIN PIPE TRADES HEALTH FUND,                  )
and WISCONSIN PIPE TRADES 401(k)                    )
PLAN AND TRUST,                                     )
                                                    )
Plaintiffs,                                         )       CASE NO.: 2:25-cv-00618
                                                    )
        vs.                                         )
                                                    )       Honorable Lynn Adelman
                                                    )
MECHANICAL MASTERS, INC.,                           )
a Wisconsin corporation,                            )
                                                    )
        Defendant.                                  )

        DEFENDANT’S UNOPPOSED MOTION FOR EXTENSION OF TIME TO
         ANSWER OR OTHERWISE PLEAD TO PLAINTIFFS’ COMPLAINT

        Defendant, Mechanical Masters Inc., by and through its attorneys, Allocco, Miller &

Cahill, P.C., respectfully moves this Court for entry of an order extending the time for Defendant

to answer or otherwise plead to Plaintiffs’ Complaint to and including June 19, 2025. In support

of this motion, Defendant states:

        1.     On April 29, 2025, Plaintiffs filed a two count Complaint against Defendant under

Sections 502(a)(3) and 515 of the Employee Retirement Income Security Act of 1974 (“ERISA”),

as amended, 29 U.S.C. §§ 1132 and 1145, Section 301 of the Labor-Management Relations Act

(“LMRA”) of 1947 as amended, 29 U.S.C. § 185, 28 U.S.C. §1331, and under federal common

law. (Docket No. 1).

        2.     On May 8, 2025, Defendant was served with Plaintiffs’ Complaint. Accordingly,

Defendant’s responsive pleading is due on May 29, 2025. (Docket No. 5).




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        3.     Defendant retained counsel as of May 23, 2025. In order to allow more time to

confer with counsel, Defendant requests that the deadline for Defendant to answer or otherwise

plead to Plaintiffs’ Complaint be extended an additional 21 days, to and including June 19, 2025.

               1.      This is Defendant’s first request for an extension of time to plead.

               2.      Defendant’s counsel has discussed this motion with Plaintiffs’ counsel, and

               Plaintiffs’ counsel stated that Plaintiffs do not object to the relief requested.

        WHEREFORE, Defendant, Mechanical Masters, Inc., requests that this Court extend the

time for Defendant to answer or otherwise plead to Plaintiffs’ Complaint to and including June 19,

2025.


                                               Respectfully submitted,

                                               Mechanical Masters, Inc.


                                               By: s/    Todd A. Miller_______


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                                 CERTIFICATE OF SERVICE
       The undersigned attorney of record, hereby certifies that he electronically filed the

attached, Defendant’s Unopposed Motion for Extension of Time to Answer or Otherwise Plead,

with the Clerk of the Court using the CM/ECF system on this 28th day of May 2025, which will

send notice of such filings to the following:

                                      Attorneys for Plaintiffs:

                                      Eddie P. Barry
                                      Johnson & Krol
                                      311 S. Wacker Drive Suite 1050
                                      Chicago, IL 60606


                                                By:___ s/ Todd A. Miller_______



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